         Case 21-20687   Doc 934     Filed 11/18/22     Entered 11/18/22 19:09:00         Page 1 of 2

                             United States Bankruptcy Court
                                       District of Connecticut




In re:
The Norwich Roman Catholic Diocesan Corporation                                Case Number: 21−20687
Debtor*                                                                        Chapter: 11


                                          NOTICE OF HEARING

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

PLEASE TAKE NOTICE that a Hearing will be held remotely using the ZoomGov platform on December 15,
2022 at 2:00 PM to consider and act upon the following matter(s):


     Fourth Interim Application for Compensation and Reimbursement of Disbursements for the Period
     of May 1, 2022, to September 30, 2022 for Zeisler & Zeisler, P.C., Creditor Comm. Aty, Fee:
     $330,882.60, Expenses: $7,962.56. Filed by Christopher H. Blau on behalf of Official Committee of
     Unsecured Creditors Creditor Committee. (Re: Doc #878)

     First Interim Application for Compensation (First) May 1, 2022 through September 30, 2022 for
     Wellspeak Dugas & Kane, L.L.C., Other Professional, Fee: $960.00, Expenses: $0.00. Filed by
     Wellspeak Dugas & Kane, L.L.C., Realtor. (Re: Doc #880)

     Fourth Interim Application for Compensation for GlassRatner Advisory & Capital Group LLC
     dba B. Riley Advisory Services as Financial Advisor to the Debtor, Fee: $143,388.25, Expenses:
     $379.08. Filed by The Norwich Roman Catholic Diocesan Corporation, Debtor. (Re: Doc #917)

     Fourth Interim Application for Compensation for Ice Miller LLP as Co-Counsel to the Debtor, Fee:
     $437,209.65, Expenses: $26,367.39. Filed by The Norwich Roman Catholic Diocesan Corporation,
     Debtor. (Re: Doc #918)

     Fourth Interim Application for Compensation for Brown Jacobson PC as Special Counsel to the
     Debtor, Fee: $5,995.00, Expenses: $10.00. Filed by The Norwich Roman Catholic Diocesan
     Corporation, Debtor. (Re: Doc #919)

     First Interim Application for Compensation for Gellert Scali Busenkell & Brown, LLC as Special
     Counsel to the Debtor, Fee: $17,268.00, Expenses: $0.00. Filed by The Norwich Roman Catholic
     Diocesan Corporation, Debtor. (Re: Doc #920)

     Fourth Interim Application for Compensation for Robinson & Cole LLP as Co-Counsel to the
     Debtor, Fee: $184,722.25, Expenses: $1,278.54. Filed by The Norwich Roman Catholic Diocesan
     Corporation, Debtor. (Re: Doc #921)

     First Interim Application for Compensation for May 1, 2022, through September 30, 2022, for
     O'Sullivan McCormack Jensen & Bliss PC, Special Counsel, Fee: $37,052.00, Expenses: $910.55.
     Filed by Christopher H. Blau, Attorney (Re: Doc #928)
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  TO THE FILING PARTY: You are required to serve this Notice of Hearing in accordance with the Bankruptcy
  Rules and file a Certificate of Service with the court indicating the name and address of each party served unless
  service was made electronically through CM/ECF.

    See below for ZoomGov Connection Instructions to participate via video and/or telephonically.




                                 Important Policy Notice to the Bar, Public, and Media



 Persons granted remote access to hearings and other proceedings held before the Court via ZoomGov,
 CourtSolutions, CourtCall, or any other remote communication platform, are reminded that pursuant to policy of the
 Judicial Conference of the United States and D. Conn. Bankr. L. R. 5073−1, it is absolutely prohibited to record,
 photograph, rebroadcast or retransmit such proceedings (including streaming, screen−shots or any other audio or
 video reproduction).
 A violation of these prohibitions is subject to sanctions, including but not limited to restricted access to future
 hearings, removal of court issued media credentials, or any other sanctions deemed necessary by the Court.



                    ZOOMGOV REMOTE HEARING INFORMATION FOR PARTICIPANTS :

 If you are the debtor, CM/ECF Filer, or CM/ECF User and will be participating in the above scheduled hearing, at
 least THREE business days before the scheduled hearing, you must contact the Clerk's Office for instructions to
 connect to the ZoomGov remote hearing by sending an email to the following court email address:
 CalendarConnect_HTD@ctb.uscourts.gov. If you do not have an email address, you may call the Clerk's Office at
 (860)240−3675 for the instructions.
 PUBLIC ACCESS TO REMOTE HEARING−LISTEN ONLY: If you are not a Remote Hearing Participant
 but would like to listen to the hearing, please use the court hearing conference line at 1−877−336−1839 and input the
 Access Code: 8852665 when prompted.



For further instruction and best practices for appearing remotely utilizing ZoomGov, please find the ZoomGov
Guide for Participants on our website at www.ctb.uscourts.gov.


Dated: November 18, 2022

                                                                                         Pietro Cicolini
                                                                                         Clerk of Court



United States Bankruptcy Court                                                    Tel. (860) 240−3675
District of Connecticut                                                           VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                        * Voice Case Information System
Hartford, CT 06103                                                                http://www.ctb.uscourts.gov
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